     Case 5:20-cv-01126-JGB-SHK Document 43 Filed 09/03/20 Page 1 of 4 Page ID #:173



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11

12                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
13

14     DANIELLE GAMINO,                         )   Case No. 5:20-cv-01126-JGB-SHK
                                                )
15                 Plaintiff,                   )   DEFENDANT ALERUS
                                                )   FINANCIAL, N.A.’S NOTICE OF
16           v.                                 )   MOTION AND MOTION TO
                                                )   DISMISS PLAINTIFF’S
17     KPC Healthcare Holdings, Inc., et al.,   )   COMPLAINT
                                                )
18                 Defendants.                  )   Date: November 2, 2020
                                                )   Time: 9:00 a.m.
19
                                                )   Judge: Hon. Jesus G. Bernal
                                                )   Courtroom: Riverside, Courtroom 1
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                                                )

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     Case 5:20-cv-01126-JGB-SHK Document 43 Filed 09/03/20 Page 2 of 4 Page ID #:174



 1             TO ALL PARTIES AND COUNSEL OF RECORD:
 2             PLEASE TAKE NOTICE that on November 2, 2020 at 9:00 a.m., or as soon
 3    thereafter as this matter may be heard, in Courtroom 1 of the United States District
 4    Court for the Central District of California at 3470 Twelfth Street, Riverside, CA
 5    92501-3801, Defendant Alerus Financial N.A. will and hereby do move to dismiss
 6    Counts I and III of Plaintiff’s Complaint with prejudice.
 7             The Court should dismiss Counts I and III of Plaintiff’s Complaint because
 8    Plaintiff fails to state a claim. This motion is brought pursuant to Federal Rule of
 9    Civil Procedure Rule 12(b)(6) and is based on the Complaint, this Notice of
10    Motion and Motion to Dismiss, the supporting Memorandum of Points and
11    Authorities, the records on file with the Court, and any further materials that may
12    be presented at the hearing on this matter.
13             This motion is made following the conference of counsel pursuant to L.R. 7-
14    3, which took place on Thursday, August 13, 2020.
15     Dated: September 3, 2020                      /s/ Andrew J. Waxler
                                                     Andrew J. Waxler (SBN 113682)
16                                                   KAUFMAN DOLOWICH &
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26                                                   COUNSEL FOR DEFENDANT
                                                     ALERUS FINANCIAL, N.A.
27
      4810-6216-2122, v. 1
28                                               1
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   1                                  PROOF OF SERVICE
   2 STATE OF CALIFORNIA     )
       COUNTY OF LOS ANGELES )
   3
              I am employed in Los Angeles County. My business address is 11755
   4 Wilshire Blvd., Suite 2400, Los Angeles, CA 90025, where this mailing occurred. I
       am over the age of 18 years and am not a party to this cause. I am readily familiar
   5 with the practices of KAUFMAN DOLOWICH & VOLUCK LLP for collection and
       processing of correspondence for mailing with the United States Postal Service.
   6 Such correspondence is deposited with the United States Postal Service the same
       day in the ordinary course of business.
   7
              On September 3, 2020, I served the foregoing documents on the interested
   8 parties in this action entitled as follows:
   9       DEFENDANT ALERUS FINANCIAL, N.A.’S NOTICE OF MOTION AND
                  MOTION TO DISMISS PLAINTIFF’S COMPLAINT
  10
       [XX] by placing [ ] the original [X] true copies thereof enclosed in sealed envelopes
  11        addressed as follows:
  12                            SEE ATTACHED SERVICE LIST
  13 [      ] (BY MAIL) I placed such envelope for collection and mailing on this date
              following ordinary business practices.
  14
     [XX] (BY E-MAIL ELECTRONIC TRANSMISSION) Based on a court order
  15      or an agreement of the parties to accept service by e-mail or electronic
          transmission, I caused the documents to be sent to the person(s) at the e-mail
  16      address(es) so indicated on the attached list. I did not receive, within a
          reasonable time after the transmission, any electronic message or other
  17      indication that the transmission was incomplete or unsuccessful.
  18 [XX] (BY THE COURT’S ECF SYSTEM): I caused each such document(s) to
              be transmitted electronically by posting such document electronically to the
  19          ECF website of the United States District Court for the Central District of
              California, on all ECF-registered parties in the action.
  20
       [    ] (BY FEDEX) I am “readily familiar with the firm’s practice of collection
  21          and processing correspondence for mailing via Express Mail (or another
              method of delivery providing for overnight delivery pursuant to C.C.P. §
  22          1005(b)). Under that practice, it would be deposited with the United States
              Postal Service or other overnight delivery carrier (in this case, FedEx) on that
  23          same day with postage thereon fully prepaid at Los Angeles, California in the
              ordinary course of business.
  24
       [XX] (FEDERAL) I declare that I am employed in the office of a member of the
  25        bar of this court at whose direction the services was made.
  26          Executed on September 3, 2020, at Los Angeles, California.
  27
                                                      /s/ Susan Carty
  28
                                                      Susan Carty
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   1                                  SERVICE LIST
   2                Danielle Gamino v. KPC Healthcare Holdings, et al.
              United States District Court Case No. 5:20-cv-01126-JGB-SHK
   3
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                                              2
                                       PROOF OF SERVICE
